                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


Carpenters District Council of Kansas City         )
Pension Fund, et al.,                              )
                                                   )
                               Plaintiffs,         )
                                                   )
v.                                                 ) Case No. 4:16-01063-CV-W-HFS
                                                   )
M.S. Consulting, LLC                               )
                                                   )
                               Defendant.          )


                                     DEFAULT JUDGMENT


       Upon the motion of the Carpenters District Council of Kansas City Pension Fund,

Carpenters Health and Welfare Trust Fund of St. Louis, Carpenters Joint Training Fund of St.

Louis, Carpenters Vacation Trust Fund of St. Louis, St. Louis-Kansas City Carpenters Regional

Council, plaintiffs in the above-entitled cause for default judgment pursuant to Rule 55(b)(2) of the

Federal Rules of Civil Procedure, and it appearing to the Court that:

       1.       Plaintiffs herein on September 30, 2016, filed their Complaint against the defendant

herein; and

       2.       The defendant was served through Billy Gilreath, President, by Special Process

Server with a copy of the Summons and Complaint on October 28, 2016, at 4336 Woodland,

Kansas City, MO 64110, and therefore the Court has jurisdiction over said defendant; and

       3.       This action arises and subject matter jurisdiction is properly based on Section 301 of

the Labor Management Relations Act as amended, 29 U.S.C. §185, and Section 502 of the

Employee Retirement Income Security Act, 29 U.S.C. §1132, and therefore the Court has subject

matter jurisdiction over the within cause; and

       4.       Defendant has failed to answer or otherwise defend as to plaintiffs' Complaint, or

serve a copy of any answer or other defense upon plaintiffs' attorneys of record or upon plaintiffs;



            Case 4:16-cv-01063-HFS Document 14 Filed 01/26/17 Page 1 of 4
and the plaintiffs have heretofore filed in the within cause on January 24, 2017, the following

pleadings and caused the same to be mailed by certified mail to: Billy Gilreath, President, 4336

Woodland, Kansas City, MO 64110.

                a.     Plaintiffs' Second Motion for Default Judgment by the Court (Pursuant to
                       Rule 55(b)(2) Federal Rules of Civil Procedure);

                b.     Suggestions in Support of Plaintiffs' Second Motion for Default Judgment by
                       the Court; and

                c.     Plaintiffs' Affidavit of Failure to Plead or Otherwise Defend in Support
                       of Application for Entry for Default as Required by Rule 55(a) Federal
                       Rules of Civil Procedure.

       5.       The Court entered a show-cause order on November 30, 2016, directing defendant to

show cause why default judgment should not be entered against it and caused said Order to be

mailed by certified mail to: Billy Gilreath, President, 4336 Woodland, Kansas City, MO 64110.

       Nevertheless, no proceedings have been made by defendant since the institution of this

action or the aforementioned Order of the Court to show cause why default judgment should not be

entered;

       It is therefore, ORDERED, ADJUDGED and DECREED that judgment by default is hereby

entered against defendant, M.S. CONSULTING, LLC and in favor of plaintiffs, Carpenters District

Council of Kansas City Pension Fund, Carpenters Health and Welfare Trust Fund of St. Louis,
Carpenters Joint Training Fund of St. Louis, Carpenters Vacation Trust Fund of St. Louis, St. Louis-

Kansas City Carpenters Regional Council and their respective Trustees for failure to answer or to

plead, pursuant to Rule 55(b) of the Federal Rules of Civil Procedure, as follows:

                                             COUNT I


       1.       That the plaintiff, Carpenters District Council of Kansas City Pension Fund, have

and recover of and from the defendant, for the period June 24, 2015 through July 29, 2015, the

amount of    THREE THOUSAND, TWO HUNDRED FORTY-SIX AND             38/100 ($3,246.38) DOLLARS in

unpaid fringe benefit contributions, SIX HUNDRED NINETY-FIVE AND 46/100 ($695.46) DOLLARS as

                                                  2

            Case 4:16-cv-01063-HFS Document 14 Filed 01/26/17 Page 2 of 4
and for liquidated damages and    ONE HUNDRED TWENTY-EIGHT AND          15/100 ($128.15) DOLLARS

representing interest on the unpaid contributions;    TWO THOUSAND, SEVEN HUNDRED ONE AND

19/100 ($2,701.19) DOLLARS representing reasonable attorneys' fees, for a total of SIX THOUSAND,

SEVEN HUNDRED SEVENTY-ONE AND            18/100 ($6,771.18) DOLLARS; and for their costs herein

incurred and expended, and that execution issue therefore.

                                             COUNT II
        1.       That the plaintiff, Carpenters Health and Welfare Trust Fund of St. Louis, have and

recover of and from the defendant, for the period June 24, 2015 through July 29, 2015, the amount

of   TWO THOUSAND, SIX HUNDRED SEVENTY-FIVE AND              80/100 ($2,675.80) DOLLARS in unpaid

fringe benefit contributions, FIVE HUNDRED TWENTY-ONE AND 59/100 ($521.59) DOLLARS as and

for liquidated damages and NINETY-SIX AND 11/100 ($96.11) DOLLARS representing interest on the

unpaid contributions; TWO THOUSAND, SIXTY-NINE AND 00/100 ($2,069.00) DOLLARS representing

reasonable attorneys' fees, for a total of FIVE THOUSAND, THREE HUNDRED SIXTY-TWO AND 50/100

($5,362.50) DOLLARS; and for their costs herein incurred and expended, and that execution issue

therefore.
                                             COUNT III


        1.       That the plaintiff, Carpenters Vacation Trust Fund of St. Louis, have and recover of

and from the defendant, for the period June 24, 2015 through July 29, 2015, the amount of FOUR

HUNDRED FOURTEEN AND          20/100 ($414.20) DOLLARS in unpaid fringe benefit contributions,

SEVENTY-TWO AND       44/100 ($72.44) DOLLARS as and for liquidated damages and THIRTEEN AND

35/100 ($13.35) DOLLARS representing interest on the unpaid contributions;          TWO HUNDRED

EIGHTY-SEVEN AND      36/100 ($287.36) DOLLARS representing reasonable attorneys' fees, for a total

of   SEVEN HUNDRED EIGHTY-SEVEN AND         35/100 ($787.35) DOLLARS; and for their costs herein

incurred and expended, and that execution issue therefore.



                                                  3

             Case 4:16-cv-01063-HFS Document 14 Filed 01/26/17 Page 3 of 4
                                             COUNT IV


        1.       That the plaintiff, Carpenters Joint Training Fund of St. Louis, have and recover of

and from the defendant, for the period June 24, 2015 through July 29, 2015, the amount of        ONE

HUNDRED FIFTY-SEVEN AND         40/100 ($157.40) DOLLARS in unpaid fringe benefit contributions,

TWENTY-EIGHT AND 98/100 ($28.98) DOLLARS         as and for liquidated damages and FIVE AND 34/100

($5.34) DOLLARS representing interest on the unpaid contributions; ONE HUNDRED FOURTEEN AND

95/100 ($114.95) DOLLARS representing reasonable attorneys' fees, for a total of THREE HUNDRED

SIX AND   67/100 ($306.67) DOLLARS; and for their costs herein incurred and expended, and that

execution issue therefore.

                                             COUNT V


        1.       That the plaintiff, St. Louis-Kansas City Carpenters Regional Council, have and

recover of and from the defendant, for the period June 24, 2015 through July 29, 2015, the amount

of   SEVEN HUNDRED FIFTY AND      56/100 ($750.56) DOLLARS in unpaid fringe benefit contributions,

ONE HUNDRED THIRTY AND           40/100 ($130.40) DOLLARS as and for liquidated damages and

TWENTY-FOUR AND        03/100 ($24.03) DOLLARS representing interest on the unpaid contributions;

FIVE HUNDRED SEVENTY-FOUR AND 71/100 ($574.71)          DOLLARS representing reasonable attorneys'

fees, for a total of   ONE THOUSAND, FOUR HUNDRED SEVENTY-NINE AND               70/100 ($1,479.70)

DOLLARS; and for their costs herein incurred and expended, and that execution issue therefore.



                                                   /s/ Howard F. Sachs
                                                   HOWARD F. SACHS
                                                   UNITED STATES DISTRICT JUDGE
January 26, 2017

Kansas City, Missouri

                                                  4

             Case 4:16-cv-01063-HFS Document 14 Filed 01/26/17 Page 4 of 4
